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     Attorney for Defendant
6    JUAN JOSE ALVAREZ-ARROYO
7

8                             IN THE UNITED STATED DISTRICT COURT

9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )   Case No.: 1:13-cr-00048-AWI-BAM
                                                      )
12                   Plaintiff,                       )   EX PARTE MOTION FOR DISCLOSURE
                                                      )   OF PREVIOUS PRESENTENCE REPORT;
13           vs.                                      )   ORDER
                                                      )
14   JACOB BELFORD,                                   )
                                                      )
15                   Defendant.                       )
16           This defendant entered a plea of guilty in this matter and sentencing is currently set fot
17   September 9, 2013. A Presentence Report was prepared by United States Probation Officer
18   Nicole Wright on or about July 23, 2013. By her calculations, the defendant is in Criminal
19   History Category VI. The offense to which defendant entered his plea took place while he was
20   incarcerated at Atwater Federal Prison on a previous federal case which took place in the District
21   of Nevada. In that matter, a Presentence Report was prepared which also calculated his criminal
22   history. Counsel sought to review that report to determine how the defendant’s criminal history
23   was previously calculated by contacting Officer Wright. Counsel was informed by Officer
24   Wright, after she consulted with her superiors, that counsel would not be allowed to review the
25   previous report even though it was in her possession and she had reviewed it while preparing the
26   report in this matter.
27           Counsel is therefore requesting this court to issue an order stating that defense counsel be
28   allowed to review the previous report prior to filing a Sentencing Memorandum in this matter.
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1    Defense counsel has consulted with counsel for the government, Kevin P. Rooney, and he stated

2    that he has no objection to this request.

3    Dated: August 28, 2013
                                                                            /s/ Carl M. Faller_____
4
                                                                            CARL M. FALLER
5                                                                           Attorney for Defendant

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7                                                 ORDER:
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            Based upon the showing set forth above, and good cause appearing, it is hereby ordered
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     that the United States Probation Office for the Eastern District of California, allow Carl M.
10
     Faller, counsel for Jacob Belford, to review all Presentence Reports in their possession which
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     were prepared in any prior federal cases involving this defendant.
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     IT IS SO ORDERED.
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     Dated: August 29, 2013
16                                               SENIOR DISTRICT JUDGE
                                                      DEAC_Signature-END:




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